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  8

  9
                          UNITED STATES DISTRICT COURT
 10
                        SOUTHERN DISTRICT OF CALIFORNIA
 11

 12

 13                                                       '18CV0972 W MDD
                                                Case No. ____________________
 14
      Founder Starcoin, Inc., a California
      corporation,                              COMPLAINT FOR BREACH OF
 15                                             CONTRACT, TRADE SECRET
                         Plaintiff,
 16                                             MISAPPROPRIATION,
                  vs.                           INTENTIONAL INTERFERENCE
 17                                             WITH PROSPECTIVE ECONOMIC
      Launch Labs, Inc. d/b/a AXIOM
 18   ZEN, a Canada corporation,                ADVANTAGE, AND UNFAIR
                                                COMPETITION
 19                      Defendant.
 20                                             DEMAND FOR JURY TRIAL
 21

 22         Plaintiff Founder Starcoin, Inc. (“STARCOIN”) alleges as follows:
 23                                       The Parties
 24         1.    Plaintiff STARCOIN is a California corporation having its principal
 25   place of business in San Diego, California.
 26         2.    Defendant Launch Labs, Inc. d/b/a Axiom Zen (“AXIOM”) is a
 27   Canada corporation having a principal place of business at 550 15th Street, San
 28   Francisco, California 94103, and an Internet home page at <axiomzen.co>.
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  1                                   Jurisdiction and Venue
  2          3.     This is an action including for breach of contract, trade secret
  3   misappropriation, intentional interference with prospective economic advantage,
  4   and unfair competition. This Court has original jurisdiction over these claims
  5   under 18 U.S.C. § 1836(c) and 28 U.S.C. § 1331, and supplemental jurisdiction
  6   under 28 U.S.C. § 1367(a).
  7          4.     This Court has personal jurisdiction over Defendant AXIOM because,
  8   on information and belief, it regularly conducts substantial business in California,
  9   including directing advertising to or soliciting business, engaging in other
 10   persistent courses of conduct, and/or deriving substantial revenue from products
 11   and/or services provided to persons in California and in this judicial district, and
 12   has directed the illegal acts alleged herein at parties and property in California and
 13   in this judicial district.
 14          5.     Venue is proper in this Judicial District under 28 U.S.C. § 1391(b)(2)
 15   because a substantial part of the events giving rise to STARCOIN’s claims
 16   occurred in this judicial district, a substantial part of property at issue is situated in
 17   this judicial district, and STARCOIN’s claims arose in this judicial district.
 18                                     Factual Background
 19          6.     STARCOIN focuses its business on creating and marketing
 20   “cryptocollectibles.” Cryptocollectibles are unique, digital, non-fungible assets
 21   built on top of a blockchain and the Ethereum cryptocurrency. Ethereum is an open
 22   source computing and currency platform similar to Bitcoin.
 23          7.     The collectibles are authenticated using blockchain technology so
 24   individuals can claim ownership to them. STARCOIN is currently in the start-up
 25   and financing stage, and has attracted considerable interest from investors seeking
 26   to capitalize on its revolutionary business model.
 27          8.     AXIOM, like STARCOIN, is in the cryptocollectibles business.
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  1           9.    Effective January 14, 2018, STARCOIN and AXIOM signed and
  2   entered into the “Mutual Nondisclosure Agreement” attached hereto as Exhibit A
  3   (“MNDA”). By the terms of the MNDA, AXIOM agreed (among other terms) to
  4   neither use nor disclose any of the confidential information provided to them by
  5   STARCOIN.
  6           10.   Pursuant to the MNDA, in January 2018, STARCOIN and AXIOM
  7   engaged in serious and substantive communications and sharing of STARCOIN’s
  8   proprietary information in particular, including wherein STARCOIN disclosed to
  9   AXIOM certain confidential business and marketing plans, potential clients and
 10   client information, pricing information, and regulatory guidelines which AXIOM
 11   was interested in acquiring (“Confidential Information”).
 12           11.   The Confidential Information included, in particular, business and
 13   marketing strategies, potential customers and potential customer leads, market
 14   analysis, product strength and weaknesses, product features, product positioning
 15   for target markets, and regulatory strategies.
 16           12.   The participants in the email communications included Jevon
 17   Feinblatt, CEO of STARCOIN, and Jody Rebak, Chief of Staff of AXIOM.
 18           13.   At no time before, during or after any of these and communications
 19   did AXIOM state or even indicate that it had been or was then doing any
 20   development work concerning the Confidential Information and concepts
 21   STARCOIN was disclosing and sharing with them.
 22           14.   AXIOM explained, instead, that supposedly they were too busy to
 23   discuss the underlying concept with STARCOIN and would have to wait until
 24   close to June to discuss collaborating with STARCOIN.
 25           15.   AXIOM never stated or otherwise disclosed that they were already
 26   working on anything like what STARCOIN had or what STARCOIN showed
 27   them.
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  1         16.      AXIOM never told or otherwise disclosed to STARCOIN they were
  2   developing anything related to the Confidential Information and concepts
  3   STARCOIN was sharing with them.
  4         17.      Axiom also never stated or indicated that they thought what
  5   STARCOIN showed them was not, in fact, non-public, confidential, trade secret
  6   information.
  7         18.      Very recently, within the last few weeks, AXIOM launched a new line
  8   of cryptocollectibles which include and utilize the Confidential Information
  9   disclosed to AXIOM in February 2018, in confidence and pursuant to the MNDA.
 10   In particular, AXIOM has misappropriated the ideas, concepts and details
 11   concerning specific STARCOIN business and marketing strategies, potential
 12   customers and potential customer leads, and the general foundation, framework,
 13   and goal of STARCOIN’s entire business.
 14         19.      As a result of AXIOM’s actions, STARCOIN has suffered and is
 15   suffering severe, immediate and irreparable injury.
 16                                FIRST CAUSE OF ACTION
 17                                     Breach of Contract
 18         20.      Plaintiff hereby incorporates by reference the allegations of
 19   Paragraphs 1-19 above, as though fully set forth herein.
 20         21.      By the express terms of the MNDA, AXIOM promised and agreed to
 21   “not at any time . . . disclose the Confidential Information of the other party to any
 22   person or entity without the prior written approval of the disclosing party, or use
 23   any such Confidential Information for any purpose . . . unless specifically pre-
 24   approved in writing by the disclosing party.” AXIOM also agreed and
 25   acknowledged that “any breach of the terms and conditions of this agreement by
 26   them would result in significant damage to the disclosing party” and that the
 27   “disclosing party shall be entitled to apply for injunctive relief in a court of
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  1   appropriate jurisdiction in the event of the breach or threatened breach of the terms
  2   of the agreement.”
  3         22.    In material breach of the MNDA, AXIOM has used the confidential
  4   business and marketing plans, potential clients and client information, which is
  5   beyond what the MNDA allowed AXIOM to use.
  6         23.    The breaches of the MNDA by AXIOM have caused STARCOIN to
  7   suffer actual damages including lost profits, in an amount to be determined at trial,
  8   plus consequential damages including attorney fees and expenses, and also have
  9   resulted and continue to result in unjust enrichment to AXIOM.
 10         24.    STARCOIN also has suffered and continues to suffer irreparable
 11   injury and such irreparable injury cannot be remedied adequately unless each
 12   AXIOM is enjoined immediately from further breaches.
 13                             SECOND CAUSE OF ACTION
 14               Trade Secret Misappropriation—18 U.S.C. § 1836(c) et seq.
 15         25.    STARCOIN hereby incorporates by reference the allegations of
 16   Paragraphs 1-24 above, as though fully set forth herein.
 17         26.    STARCOIN shared with AXIOM certain valuable information,
 18   including the STARCOIN’s confidential, proprietary trade secrets.
 19         27.    STARCOIN shared its trade secrets with AXIOM under
 20   circumstances giving rise to a duty to maintain their secrecy and limit their use,
 21   and AXIOM derived the STARCOIN’s trade secrets through persons who owed a
 22   duty to STARCOIN to maintain their secrecy and limit their use.
 23         28.    STARCOIN has undertaken and maintains efforts that are reasonable
 24   under the circumstances to maintain secrecy and preserve the confidentiality of the
 25   STARCOIN Confidential Information, including STARCOIN’s trade secrets.
 26   STARCOIN’s reasonable efforts have included (a) insisting on measures to ensure
 27   only restricted access to the STARCOIN Confidential Information, (b) physical
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  1   and electronic security measures, and (c) oral and written confidentiality
  2   agreements.
  3         29.     The STARCOIN trade secrets derive independent economic value
  4   from not being generally known to, and not being reasonably ascertainable through
  5   proper means by, customers, competitors and potential competitors of
  6   STARCOIN, the public or other persons who could obtain economic value from its
  7   disclosure or use.
  8         30.     Without the express or implied consent of STARCOIN, AXIOM used,
  9   disclosed and/or otherwise misappropriated the trade secrets, despite having a duty
 10   to maintain secrecy and limit use and disclosure.
 11         31.     As a result of the actions of AXIOM in misappropriating the trade
 12   secrets, STARCOIN has suffered actual damages including lost profits, in an
 13   amount to be determined at trial, plus consequential damages including attorney
 14   fees and expenses. Such damages may include a reasonable royalty for the period
 15   of time AXIOM unlawfully used the STARCOIN trade secrets.
 16         32.     AXIOM’s misappropriation of the STARCOIN trade secrets also has
 17   resulted in and continues to result in the unjust enrichment of AXIOM, including
 18   but not limited to the tremendous cost savings to AXIOM because the use of the
 19   STARCOIN trade secrets.
 20         33.     AXIOM committed its acts of misappropriation willfully and
 21   maliciously to injure STARCOIN’s business and improve its own, thereby entitling
 22   STARCOIN to an award of exemplary damages and attorney fees.
 23         34.     STARCOIN also has suffered and continues to suffer irreparable
 24   injury, including the potential evisceration of STARCOIN’s trade secrets at issue
 25   because of AXIOM’s unauthorized and potentially non-confidential use, disclosure
 26   and/or publication of the STARCOIN trade secrets. Such irreparable injury cannot
 27   be remedied adequately unless AXIOM is enjoined immediately from further use,
 28   disclosure and/or other misappropriation of the STARCOIN trade secrets.
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  1         35.      STARCOIN has no adequate remedy at law for the injuries it has
  2   suffered and continues to suffer, as it will be impossible for STARCOIN to
  3   determine the precise amount of damage it will suffer if AXIOM’s conduct is not
  4   restrained.
  5                               THIRD CAUSE OF ACTION
  6               Intentional Interference With Prospective Economic Advantage
  7         36.      STARCOIN hereby incorporates by reference the allegations of
  8   Paragraphs 1-35 above, as though fully set forth herein.
  9         37.      At all times herein, AXIOM has been aware that STARCOIN has
 10   relationships with customers and potential investors who are interested in the
 11   STARCOIN Confidential Information.
 12         38.      By the acts above constituting unauthorized disclosure and use of the
 13   STARCOIN Confidential Information, AXIOM has intentionally acted in a manner
 14   designed to disrupt the ability of STARCOIN to launch its business.
 15         39.      AXIOM’s unauthorized disclosure of the STARCOIN Confidential
 16   Information has actually disrupted STARCOIN’s relationships with its other
 17   customers, in a manner that threatens to negate STARCOIN’s ability to protect its
 18   Confidential Information and launch its products.
 19         40.      AXIOM’s intentional interference with prospective economic
 20   advantage has caused STARCOIN to suffer actual damages including lost profits,
 21   in an amount to be determined at trial, plus consequential damages including
 22   attorney fees and expenses. Such damages may include a reasonable royalty for
 23   the period of time AXIOM unlawfully used the STARCOIN Confidential
 24   Information.
 25         41.      AXIOM’s intentional interference with prospective economic
 26   advantage also has resulted in and continues to result in the unjust enrichment of
 27   AXIOM, including but not limited to the tremendous cost savings to AXIOM by
 28   using the STARCOIN Confidential Information.
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  1         42.       AXIOM committed its acts of intentional interference with
  2   prospective economic advantage willfully and maliciously to injure STARCOIN’s
  3   business and improve its own, thereby entitling STARCOIN to an award of
  4   exemplary damages and attorney fees. STARCOIN also has suffered and
  5   continues to suffer irreparable injury, including the potential evisceration of
  6   STARCOIN’s trade secrets at issue because of AXIOM’s intentional interference
  7   with prospective economic advantage, and AXIOM’s unauthorized and non-
  8   confidential use, disclosure and/or publication of the STARCOIN Confidential
  9   Information.
 10         43.       Such irreparable injury cannot be remedied adequately unless AXIOM
 11   is enjoined immediately from further use, disclosure and/or other misappropriation
 12   of the STARCOIN Confidential Information, including STARCOIN’s trade
 13   secrets.
 14         44.       STARCOIN has no adequate remedy at law for the injuries it has
 15   suffered and continues to suffer, as it will be impossible for STARCOIN to
 16   determine the precise amount of damage it will suffer if AXIOM’s conduct is not
 17   restrained.
 18                               FOURTH CAUSE OF ACTION
 19                 Unfair Competition—Cal. Bus. & Prof. Code §§ 17200 et seq.
 20         45.       STARCOIN hereby incorporates by reference the allegations of
 21   Paragraphs 1-44 above, as though fully set forth herein.
 22         46.       By the acts above constituting the unauthorized disclosure and use of
 23   the STARCOIN trade secrets and intentional interference with prospective
 24   economic advantage, AXIOM has employed unlawful and unfair business acts or
 25   practices, in violation of Cal. Bus. & Prof. Code §§ 17200 et seq.
 26         47.       AXIOM’s unfair competition has resulted in and continues to result in
 27   the unjust enrichment of AXIOM, including but not limited to the tremendous cost
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  1   savings to AXIOM because of the use of the STARCOIN Confidential
  2   Information.
  3         48.      AXIOM committed their acts of unfair competition willfully and
  4   maliciously to injure STARCOIN’s business and improve its own, thereby entitling
  5   STARCOIN to an award of exemplary damages and attorney fees.
  6         49.      STARCOIN also has suffered and continues to suffer irreparable
  7   injury, including the potential evisceration of STARCOIN’s trade secrets at issue
  8   because of AXIOM’s unfair competition and unauthorized and potentially non-
  9   confidential use, disclosure and/or publication of the STARCOIN Confidential
 10   Information. Such irreparable injury cannot be remedied adequately unless
 11   AXIOM is enjoined immediately from further use, disclosure and/or other
 12   misappropriation of the STARCOIN Confidential Information, including
 13   STARCOIN’s trade secrets.
 14         50.      STARCOIN has no adequate remedy at law for the injuries it has
 15   suffered and continues to suffer, as it will be impossible for STARCOIN to
 16   determine the precise amount of damage it will suffer if AXIOM’s conduct is not
 17   restrained.
 18                                  PRAYER FOR RELIEF
 19         WHEREFORE, Plaintiff STARCOIN prays for judgment and injunctive
 20   relief against Defendant AXIOM as follows:
 21         A.       Ordering AXIOM to show cause why they should not be enjoined as
 22   set forth in this Complaint, during the pendency of this action;
 23         B.       Temporarily restraining, and preliminarily and permanently enjoining
 24   AXIOM from using, disclosing, or otherwise misappropriating the STARCOIN
 25   Confidential Information, including but not limited to STARCOIN’s trade secrets
 26   embodied therein;
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   1         C.     Awarding actual damages to STARCOIN in an amount to be
   2   determined at trial, including amounts attributable to AXIOM’s unjust enrichment
   3   and a reasonable royalty, as well as consequential and exemplary damages;
   4         D.     Awarding STARCOIN its reasonable attorney fees, expenses and
   5   costs incurred in this action; and
   6         E.     Awarding such other and further relief as the court may deem just and
   7   proper.
   8                                         Respectfully submitted,
   9   Dated: May 16, 2018                   FOUNDATION LAW GROUP LLP
  10
                                             By:     /s/ Stephen M. Lobbin
  11                                               Attorneys for Plaintiff
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